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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                              SAN JOSE DIVISION
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                                  12    KATIE KANE, et al.,                                  Case No. 12-CV-02425-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiffs,                           ORDER STAYING CASE
                                  14            v.

                                  15    CHOBANI, INC.,
                                  16                    Defendant.
                                  17

                                  18          On March 16, 2016, the Ninth Circuit vacated the Court’s prior judgment in the instant

                                  19   case and remanded “with instructions that the district court stay this action pending resolution of

                                  20   the FDA’s ‘natural’ and ‘evaporated cane juice’ proceedings.” ECF No. 180. The Ninth Circuit

                                  21   subsequently issued the mandate in this case. ECF No. 181. Therefore, the Court STAYS

                                  22   proceeding in the instant case. The Clerk shall administratively close the file.

                                  23          The Court notes that since the Ninth Circuit’s March 16, 2016 decision, the FDA has

                                  24   issued a Guidance for Industry: Ingredients Declared as Evaporated Cane Juice, Dkt. No. FDA-

                                  25   2009-D-0430. The parties shall notify the Court within seven days of the resolution of the FDA’s

                                  26   proceedings on the term “natural.”

                                  27   IT IS SO ORDERED.

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                                       Case No. 12-CV-02425-LHK
                                       ORDER STAYING CASE
                                          Case 5:12-cv-02425-LHK Document 182 Filed 07/29/16 Page 2 of 2




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                                   2   Dated: July 29, 2016

                                   3                                        ______________________________________
                                                                            LUCY H. KOH
                                   4                                        United States District Judge
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Northern District of California
 United States District Court




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                                       Case No. 12-CV-02425-LHK
                                       ORDER STAYING CASE
